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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


    UNITED STATES OF AMERICA

         v.                                                  CASE NO.: 5:21-cr-9

    MARIA LETICIA PATRICIO,
    DANIEL MENDOZA,
    NERY RENE CARRILLO-NAJARRO,
    ANTONIO CHAVEZ RAMOS,
    JC LONGORIA CASTRO,
    ENRIQUE DUQUE TOVAR,
    CHARLES MICHAEL KING,
    STANLEY NEAL MCGAULEY,
    LUIS ALBERTO MARTINEZ,
    DELIA IBARRA ROJAS,
    JUANA IBARRA CARRILLO,
    DONNA MICHELLE ROJAS,
    JUAN FRANCISCO ALVAREZ CAMPOS,
    ROSALVA GARCIA MARTINEZ,
    ESTHER IBARRA GARCIA,
    LINDA JEAN FACUNDO,
    GUMARA CANELA,
    DANIEL MERARI CANELA DIAZ,
    CARLA YVONNE SALINAS,

                 Defendants.


                                             ORDER

        This matter is before the Court on the Government’s Unopposed Motion for a Protective

Order Governing Discovery for Certain Defendants. Doc. 361. The Government moves the

Court for a Protective Order concerning discovery in this case as it relates to certain Defendants

listed in the above caption.1 The United States indicates in its Motion it has conferred with


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        At this time, Defendants Margarita Rojas Cardenas and Brett Donavan Bussey oppose this
motion, and the United States is conferring with defense counsel in an attempt to resolve the dispute.
This Protective Order will not apply to Defendants Margarita Rojas Cardenas and Brett Donavan Bussey.
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counsel for Defendants listed in the above caption and they do not oppose the Government’s

Motion. Doc. 361. After careful consideration and for good cause shown, the Government’s

Motion is GRANTED as to the Defendants listed in the caption.

       Accordingly, for any discovery provided in this case to the Defendants listed in the above

caption, such materials must: (1) be used by counsel of record only for purposes of representing

his or her client in this action; (2) be maintained in a safe and secure manner by each counsel of

record; (3) not be possessed by the Defendants identified in this Order, except in the presence of

the Defendant’s counsel; and (4) not be disclosed in any form by either party in any format

outside of this action, to include disclosure on social media.

       Such discovery material may be disclosed by counsel only to the following designated

persons: (1) investigate, secretarial, clerical, and paralegal personnel; (2) independent expert

witnesses, investigators, or advisors retained by counsel of record in connection with this action;

(3) other witnesses testifying to the contents of the document or material; and (4) such other

persons as hereafter may be authorized by the Court upon motion of either party. Counsel of

record shall provide a copy of this Protective Order to any designated person to whom they

disclose discovery material. Prior to disclosure of discovery material to any designated person,

such designated person shall agree to be subject to the terms of the Protective Order.

       SO ORDERED, this 11th day of April, 2022.




                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
